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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                              November 08, 2017
                        UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

JUAN RAMON TORRES, et al,                   §
                                            §
         Plaintiffs,                        §
VS.                                         §   CIVIL ACTION NO. 4:09-CV-2056
                                            §
SGE MANAGEMENT LLC, et al,                  §
                                            §
         Defendants.                        §

   ORDER GRANTING PLAINTIFFS’ MOTION TO SUBSTITUTE CLASS
    REPRESENTATIVE PURSUANT TO FED. R. CIV. P. 25(a) AND ADD
  ADDITIONAL CLASS REPRESENTATIVE PURSUANT TO FED. R. CIV. P.
                           15(a)(2)

       The Court has considered (1) the certified plaintiff class’s Motion to Substitute

Class Representative Pursuant to Fed. R. Civ. P. 25(a) and Add Additional Class

Representative Pursuant to Fed. R. Civ. P. 15(a)(2) (Dkt. No. 228); (2) the defendants’

response; (3) the plaintiffs’ reply; and (4) the other pleadings and records on file, and

now deems itself fully advised. NOW, THEREFORE, the plaintiffs’ motion is hereby

GRANTED.

       It is ORDERED that Christopher Robison – in his capacity as the duly appointed

executor for, and legal representative of, the estate of his father and former named class

representative Eugene Robison (deceased) – is hereby substituted as a class

representative in place of Eugene Robison (deceased).

       It is FURTHER ORDERED that the plaintiffs and the plaintiff class are hereby

granted leave to elevate member of the certified class, Mr. Lucas (“Luke”) Thomas, as an

additional class representative and named plaintiff and that the plaintiffs may file an


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amended complaint within 15 court days of the entry of this Order solely adding Mr.

Thomas as a named plaintiff and class representative.

       It is so ORDERED.

       SIGNED on this 8th day of November, 2017.


                                            ___________________________________
                                            Kenneth M. Hoyt
                                            United States District Judge




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